                                                 UNITED STATES BANKRUPTCY COURT
                                                    SOUTHERN DISTRICT OF OHIO
                                                    WESTERN DIVISION AT DAYTON

IN RE:                                                                              CASE NO: 16-33589
    Theresa M LaDuke                                                                        (Chapter 13)

                                                  Debtor                            JUDGE BETH A. BUCHANAN

                                                    NOTICE OF FINAL CURE PAYMENT
Pursuant to Federal Rule of Bankruptcy Procedure 3002.1(f), the Chapter 13 Trustee, John G. Jansing files
this Notice of Final Cure Payment. The amount required to cure the default in the claim listed below has been
paid in full. Further, all required post-petition amounts through and including December, 2021 have been paid
in full.

Name of Creditor: US BANK TRUST NA
Last 4 Digits of Account No: 8082
Property Address: 75 Mitchell Road, Wilmington, OH 45177



Court / Trustee                                                                      Claim                 Claim      Amount
Clm # Clm #                                                                        Asserted              Allowed        Paid
     2      /   1                                                             $174,203.75             $8,142.98     $8,142.98

     2      /   2                                                                      $0.00          $7,212.36     $7,212.36

     2      / 37                                                                       $0.00        $14,044.08     $14,044.08

     2      / 38                                                                       $0.00        $16,029.70     $16,029.70

     2      / 40                                                                       $0.00        $15,173.28     $15,173.28

     2      / 41                                                                       $0.00         Continuing    $21,933.54

Total Amount Paid by Trustee . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $82,535.94
Within 21 days of the service of the Notice of Final Cure Payment , the creditor MUST file and serve a
Statement as a supplement to the holder's proof of claim on the Debtor , Debtor's Counsel and the Chapter 13
Trustee, pursuant to Fed.R.Bank.P.3002.1(g), indicating 1) whether it agrees that the Debtor has paid in full
the amount required to cure the default on the claim; and 2) whether the Debtor is otherwise current on all
payments consistent with 11 U.S.C.§1322(b)(5).

The statement shall itemize the required cure or post-petition amounts, if any, that the holder contends remain
unpaid as of the date of the statement. The statement shall be filed as a supplement to the holder's proof of
claim and is not subject to Rule 3001(f). Failure to notify may result in sanctions.
                                                      CERTIFICATE OF SERVICE

I hereby certify that a copy of the Notice of Final Cure Payment was served electronically on the date of the filing through the Court’s
ECF System on all ECF participants registered in this case at the email address registered with the court and by First Class Mail on
December 17, 2021 addressed to:


Theresa M LaDuke                          (1.4)                                      (1.3)
75 Mitchell Road                          Molly Slutsky Simons                       US BANK TRUST NA
Wilmington, OH 45177                      Sottile & Barile                           C/O RUSHMORE LOAN MANAGEMENT SERVICES
                                          394 Wards Corner Rd.                       LLC
                                          Suite 180                                  BOX 55004
                                          Loveland, OH 45140                         IRVINE, CA 92619-2708



                                                                   /s/_JOHN G. JANSING__________
                                                                   John G. Jansing 0040926
                                                                   Chapter 13 Trustee
                                                                   131 N. Ludlow St. Suite 900
                                                                   Dayton, OH 45402-1161
                                                                   (937)222-7600 Fax (937)222-7383
                                                                   chapter13@dayton13.com




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